                              UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION

   In re:   WILLIAM ANTHONY MARQUEZ                )      Case No. 20-10691-jps
                                                   )      Chapter 13 Proceedings
                  Debtor(s)                        )      Judge Jessica E. Price Smith


                   CHAPTER 13 TRUSTEE’S MOTION FOR EXAMINATION
                        PURSUANT TO BANKRUPTCY RULE 2004

    Now comes LAUREN A. HELBLING, the duly appointed and qualified Standing Chapter 13
Trustee herein ("Trustee"), hereby moves this Honorable Court to issue an Order requiring the Debtor
("Debtor") to appear for examination pursuant to Bankruptcy Rule 2004. In support of her motion, the
Trustee makes the following representations to the Court:

    1.      Trustee sent correspondence to Debtor and counsel for Debtor on February 7, 2022 asking if
            Debtor was still obligated to pay alimony and if Debtor's TESP loan was paid in full.
            Trustee also requested a copy of Debtor's last pay advice(s) for 2021 and his 2021 W-2
            income statement.

    2.      To date, there has been no response to the letter and the requested information has not been
            received.

    3.       Debtor is requested to provide the following documents to the Trustee:
             Verification if Debtor is still obligated to pay alimony;
             Verification if Debtor is still paying the TESP loan;
             Copies of pay advices for the last 60 days for Debtor;
             Copy of Debtor's 2021 Federal tax return including all schedules and w-2 and/or 1099
               income statements used to prepare the tax return;
             Completed declaration of income form;

     WHEREFORE your Trustee, being a proper party in interest, hereby moves this Honorable Court to
grant her motion and order Debtor to appear on Wednesday, April 27, 2022 at 2:00 p.m. for a
telephonic examination for the reasons cited and to require that Debtor provide said documents to the
Trustee on or before Thursday, April 21, 2022 for review by Trustee prior to the exam.



                                 /S/ Lauren A. Helbling
                                 LAUREN A. HELBLING (#0038934)
                                 Chapter 13 Trustee
                                 200 Public Square, Suite 3860
                                 Cleveland OH 44114-2321
                                 Phone (216) 621-4268       Fax (216) 621-4806
                                 ch13trustee@ch13cleve.com




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                                   CERTIFICATE OF SERVICE

   I certify that on March 24, 2022, a true and correct copy of the Trustee’s Motion for Examination
Pursuant to Bankruptcy Rule 2004 was served:

   Via the Court’s Electronic Case Filing System on these entities and individuals who are listed on the
Court’s Electronic Mail Notice List:

       WILLIAM J. BALENA, on behalf of the Debtor(s), WILLIAM ANTHONY MARQUEZ, at
         docket@ohbksource.com


And by regular U.S. Mail, postage prepaid, on:

       WILLIAM ANTHONY MARQUEZ, Debtor, at 2906 GOBLE DRIVE, LORAIN, OH 44055


                                 /S/ Lauren A. Helbling
                                 LAUREN A. HELBLING (#0038934)
                                 Chapter 13 Trustee
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                                 Cleveland OH 44114-2321
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